           Case 5:22-cv-04486-BLF Document 272 Filed 02/13/23 Page 1 of 3


     RACHEL S. BRASS, SBN 219301
1      rbrass@gibsondunn.com
     GIBSON, DUNN & CRUTCHER LLP
2    555 Mission Street, Suite 3000
     San Francisco, California 94105-0921
3    Telephone: 415.393.8200
     Facsimile: 415.393.8306
4
     ROBERT C. WALTERS, pro hac vice
5      rwalters@gibsondunn.com
     GIBSON, DUNN & CRUTCHER LLP
6    2001 Ross Avenue, Suite 2100
     Dallas, Texas 75201-2911
7    Telephone: 214.698.3100
8    Attorneys for Plaintiff LIV Golf, Inc.
9
10

11

12                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
13                                      SAN JOSE DIVISION
14   MATT JONES, BRYSON DECHAMBEAU,                     CASE NO. 5:22-cv-04486-BLF
     PETER UIHLEIN, and LIV GOLF INC.,
15                                                      PLAINTIFF LIV GOLF’S STATEMENT IN
                                   Plaintiffs,          SUPPORT OF SEALING PORTIONS OF
16                                                      JOINT STATEMENT REGARDING
            v.                                          REQUEST FOR CASE MANAGEMENT
17                                                      CONFERENCE
     PGA TOUR, INC.,
18
                                   Defendant and
19                                 Counter-Plaintiff,
20          v.
21   LIV GOLF INC.,
22                  Counter-Defendant.
23

24

25

26

27

28

                       PLAINTIFF LIV GOLF’S STATEMENT IN SUPPORT OF SEALING
                                        CASE NO. 5:22-CV-04486-BLF
           Case 5:22-cv-04486-BLF Document 272 Filed 02/13/23 Page 2 of 3


1           Pursuant to Civil Local Rule 79-5(f)(3), 79-5(c), Plaintiff LIV Golf, Inc. (“LIV”) provides the
2    following statement of the applicable legal standard and reasons for keeping under seal the documents
3    provisionally filed under seal in connection with the parties’ joint request for a case management
4    conference. Dkt. No. 254.
5           The joint request sets out the parties’ positions on trial schedule and other administrative
6    matters. A party seeking to seal in these circumstances “need only satisfy the less exacting ‘good
7    cause’ standard” of Rule 26(c)(1) that “protect[s] a party or person from annoyance, embarrassment,
8    oppression, or undue burden or expense.” Center for Auto Safety v. Chrysler Grp., LLC, 809 F.3d
9    1092, 1097 (9th Cir. 2016); see, e.g., Int’l Swimming League, Ltd. v. Federation Internationale de
10   Natation, 2021 WL 624172, at *1 (N.D. Cal. Jan. 19, 2021) (applying good cause standard for sealing
11   case management statement); Grace v. Apple, Inc., 2018 WL 11319050, at **1-2 (N.D. Cal. Aug. 17,
12   2018) (same); see also Kumandan v. Google LLC, 2022 WL 1501017, at *1 (N.D. Cal. May 12, 2022)
13   (Freeman, J.) (applying good cause standard to “motion regarding the case schedule”). A district court
14   has “broad latitude” to “prevent disclosure of materials for many types of information” under this rule.
15   Philips ex rel. Estates of Byrd v. Gen. Motors Corp., 307 F.3d 1206, 1211 (9th Cir. 2002).
16          Good cause to seal exists. As explained in the declaration of John Loffhagen, the joint request
17   describes the Shareholder Agreement, which discloses highly confidential information about corporate
18   governance, internal decision making processes, and limitations on its business conduct. Loffhagen
19   Decl. ¶ 2. It also describes LIV’s investors’ involvement in LIV’s operations and internal decision
20   making . Id. ¶ 3. Disclosure of this information would harm LIV, including by deterring outside
21   funders and business partners, changing the terms that those outside funders demand, deterring
22   potential business partners from entering into negotiations with LIV, and allowing competitors to
23   exploit the information for competitive gain, for example, by attempting to influence LIV Golf’s
24   investors or taking advantage of limitations on LIV Golf’s decision-making powers. Id. ¶¶ 2-3. Such
25   material is frequently sealed even under the “compelling reasons” standard. See, e.g., Pinnacle
26   Ventures LLC v. Bertelsmann Educ. Servs., 2018 WL 11392741, at *1 (N.D. Cal. Aug. 1, 2018) (sealing
27   “internal governance procedures and corporate details”); F.T.C. v. Qualcomm Inc., 2018 WL 6575838,
28   at *2 (N.D. Cal. Dec. 13, 2018) (sealing “internal discussions” about “business structure”) The sealing

                                                        2
                       PLAINTIFF LIV GOLF’S STATEMENT IN SUPPORT OF SEALING
                                        CASE NO. 5:22-CV-04486-BLF
           Case 5:22-cv-04486-BLF Document 272 Filed 02/13/23 Page 3 of 3


1    is narrowly tailored because the majority of the joint request is not redacted.
2           LIV respectfully requests that the Court order that these materials remain sealed.
3
             Document                                      Reason(s) for Sealing
4
      Joint Request for a Case     Contains confidential information about LIV’s Shareholder
5     Management Conference        Agreement setting out its relationship with its investors, including
          at lines 6:10-17         investor rights, disclosure of which would prejudice LIV’s ability to
6                                  obtain outside funding, pursue a franchise model in the future, and
                                   obtain future business.
7

8     Joint Request for a Case     Contains confidential information regarding participation of LIV’s
      Management Conference        investors in LIV’s internal decision-making, disclosure of which
9         at lines 6:18-19         would harm LIV by allowing competitors to exploit the information,
                                   deterring potential business partners, and reducing opportunities for
10                                 outside funding.
11

12

13

14   DATED: February 13, 2023                            Respectfully submitted,
15                                                       /s/ Rachel S. Brass
                                                          RACHEL S. BRASS, SBN 219301
16                                                           rbrass@gibsondunn.com
                                                          GIBSON, DUNN & CRUTCHER LLP
17                                                        555 Mission Street, Suite 3000
                                                          San Francisco, California 94105-0921
18                                                        Telephone:     415.393.8200
                                                          Facsimile:     415.393.8306
19

20
                                                         COUNSEL FOR PLAINTIFF LIV GOLF, INC.
21

22

23

24

25

26

27

28

                                                         3
                       PLAINTIFF LIV GOLF’S STATEMENT IN SUPPORT OF SEALING
                                        CASE NO. 5:22-CV-04486-BLF
